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    Nos. 20-1645, 20-1759, 20-1760, 20-1761, 20-1762, 20-1819, 20-1849, 20-2010,
  20-2016, 20-3027, 20-3028, 20-3029, 20-3030, 20-3031, 20-3032, 20-3033, 20-3034,
  20-3035, 20-3036, 20-3037, 20-3038, 20-3039, 20-3040, 20-3041, 20-3042, 20-3043,
             20-3045, 20-3046, 20-3405, 20-3422, 20-3423, and 21-1183
                                       IN THE
                      UNITED STATES COURT OF APPEALS
                         FOR THE SEVENTH CIRCUIT

ILLINOIS COMMERCE COMMISSION,                   )     Petitions for review of
et al.,                                         )     orders of the Federal Energy
          Petitioners,                          )     Regulatory Commission,
                                                )
OLD DOMINION ELECTRIC                           )     Nos.
COOPERATIVE, et al.,                            )     EL16-49-000,
         Intervening Petitioners,               )     EL16-49-001,
     v.                                         )     EL16-49-002,
                                                )     EL18-178-000,
FEDERAL ENERGY REGULATORY                       )     EL18-178-001,
COMMISSION,                                     )     EL18-178-002,
         Respondent,                            )     ER18-1314-000,
                                                )     ER18-1314-001,
       and                                      )     ER18-1314-002,
                                                )     FERC-171FERC61034,
PJM INDUSTRIAL CUSTOMER                         )     FERC-171FERC61035,
COALITION, et al.,                              )     FERC-163FERC61236,
         Intervening Respondents.               )     FERC-169FERC61239

                       Combined Position Statement and
             Motion for Voluntary Dismissal of Petitions for Review

      The undersigned petitioners and intervening petitioners, Illinois Commerce

Commission, People of the State of Illinois, New Jersey Board of Public Utilities,

Constellation Energy Generation, LLC, Sierra Club, Union of Concerned Scientists,

Environmental Defense Fund, Natural Resources Defense Council, North Carolina

Electric Membership Corporation, and Public Service Commission of Kentucky

(“Movants”), by their counsel, respectfully submit this combined (i) position

statement pursuant to the court’s May 1, 2024 order, and (ii) motion to voluntarily

dismiss their petitions for review as moot.
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              Position Statement Pursuant to May 1, 2024 Order

      For the reasons set forth in FERC’s October 15, 2024 position statement (ECF

Doc. 165), Movants agree that these cases are moot and should be dismissed in light

of the Supreme Court’s October 7, 2024 denial of the Public Utilities Commission of

Ohio’s petition for a writ of certiorari of the Third Circuit’s decision in PJM Power

Providers Group v. FERC, 88 F.4th 250 (3d Cir. 2023), making that decision final.

That decision rejected challenges to FERC’s September 29, 2021 notice that a

proposed tariff for capacity auctions by PJM Interconnection, L.L.C., which oversees

wholesale power markets in particular areas, would take effect by operation of law

under § 205 of the Federal Power Act, 16 U.S.C. § 824d. As noted in previous filings

in these cases (e.g., ECF Doc. 157 at 2), that tariff superseded a prior FERC-approved

tariff for these capacity auctions, referred to as the “Expanded Minimum Offer Price

Rule,” challenged by that petitioners in these cases. Accordingly, the cases currently

pending in this court challenging the Expanded Minimum Offer Price Rule, including

the cases initiated by Movant’s petitions, are now moot.

                         Motion to Dismiss Cases as Moot

      In light of the foregoing, Movants respectfully move, pursuant to Rules 27 and

42(b)(2) of the Federal Rules of Appellate Procedure, for the voluntary dismissal, as

moot, of their petitions for review.


October 21, 2024                  Respectfully submitted,




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                        Certificate of Filing and Service

      I hereby certify that on October 21, 2024, I electronically filed the foregoing

Combined Position Statement and Motion for Voluntary Dismissal of Petitions for

Review with the Clerk of the Court for the United States Court of Appeals for the

Seventh Circuit by using the CM/ECF system, which will effect service on other

participants in the case, all of whom are registered CM/ECF users.


                                   /s/ Richard S. Huszagh




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